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                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                                 :    CHAPTER 7
                                                       :
JAMES H. SOUTHARD,                                     :    CASE NO. 22-50489-LRC
                                                       :
         Debtor.                                       :
                                                       :
                                                       :
FREEDOM MORTGAGE CORPORATION,                          :    CONTESTED MATTER
                                                       :
         Movant.                                       :
                                                       :
vs.                                                    :
JAMES H. SOUTHARD,
                                                       :
S. GREGORY HAYS, Trustee
                                                       :
         Respondents.                                  :
                                                       :


                                             NOTICE OF HEARING

       PLEASE TAKE NOTICE that Freedom Mortgage Corporation has filed a Motion for Relief
from Stay and related papers with the Court seeking an order modifying the automatic stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic hearing for
announcements on the Motion at the following number: (toll-free number: 833-568-8864; meeting ID
161 346 1602), at 10:00 a.m. on August 11, 2022 in Courtroom 1204, United States Courthouse, 75 Ted
Turner Drive, SW, Atlanta, Georgia 30303.

        Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as determined by the
Court in connection with this initial telephonic hearing. Please review the “Hearing Information” tab on
the judge’s webpage, which can be found under the “Dial-in and Virtual Bankruptcy Hearing
Information” link at the top of the webpage for this Court, www.ganb.uscourts.gov for more information.

        Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one.) If you do not want the court to grant the relief
sought in these pleadings or if you want the court to consider your views, then you and/or your attorney
must attend the hearing. You may also file a written response to the pleading with the Clerk at the address
stated below, but you are not required to do so. If you file a written response, you must attach a certificate
stating when, how and on whom (including addresses) you served the response. Mail or deliver your
response so that it is received by the Clerk at least two business days before the hearing. The address of
the Clerk's Office is Clerk, U. S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia
30303. You must also mail a copy of your response to the undersigned at the address stated below.
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       If a hearing on the motion for relief from the automatic stay cannot be held within thirty (30)
days, Movant waives the requirement for holding a preliminary hearing within thirty days of filing the
motion and agrees to a hearing on the earliest possible date. Movant consents to the automatic stay
remaining in effect until the Court orders otherwise.


       Dated this:   06/30/2022



                                                 /s/Elizabeth Parrott
                                                 Elizabeth Parrott, GA BAR NO. 750965
                                                 Attorney for Movant
                                                 McCalla Raymer Leibert Pierce, LLC
                                                 1544 Old Alabama Road
                                                 Roswell, Georgia 30076
                                                 678-277-4911
                                                 Elizabeth.Parrott@mccalla.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                    ) CHAPTER 7
                                                          )
JAMES H. SOUTHARD,                                        ) CASE NO. 22-50489-LRC
                                                          )
         Debtor.                                          )
                                                          )
                                                          )
FREEDOM MORTGAGE CORPORATION,                             ) CONTESTED MATTER
                                                          )
         Movant.                                          )
                                                          )
vs.                                                       )
JAMES H. SOUTHARD,                                        )
S. GREGORY HAYS, Trustee                                  )
                                                          )
         Respondents.


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                  2.

         Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. A copy of the Security Deed is attached hereto and made a part hereof. Said real

property is security for a promissory note, and is commonly known as 1375 Jamerson Rd.,

Marietta, Georgia 30066 (the “Property”).
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                                                3.

       Debtor is in default of the monthly installments pursuant to the terms of the Loan

Modification Agreement. As of June 6, 2022, Debtor is delinquent for three (3) payments of

$3,303.99 each (April 2022 – June 2022); less a suspense balance of $895.72, pursuant to the

terms of the Loan Modification Agreement.

                                                4.

       As of June 6, 2022, the unpaid principal balance is $585,491.08, and interest is due

thereon in accordance with the Loan Modification Agreement.

                                                5.

       Because of Debtor's default and clear inability to make all required payments, Movant is

not adequately protected and shows that there is cause for relief from the automatic stay.

                                                6.

       Because the Security Deed so provides, Movant is entitled to its attorney's fees.

                                                7.

       Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.

                                                8.

       IMPORTANT NOTICE: Freedom Mortgage Corporation (“Freedom”) is firmly

committed to helping its borrowers who are experiencing a hardship. Depending on the

circumstances of your case, Freedom may be amenable to consensual resolution of this matter,

with Court approval. Potential options for resolution may include, among other things, temporary
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forbearance of payments, payment restructuring and/or adjustment of your payment amount. If

you (or, if applicable, any co-debtors) have experienced a hardship, please contact us (or have

your counsel contact us, if you are represented) promptly to discuss possible options.

       WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtor via telephone or

written correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

4001 (a)(3); and (5) for such other and further relief as is just and equitable.


                                               /s/Elizabeth Parrott
                                               Elizabeth Parrott, Georgia BAR NO. 750965
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, Georgia 30076
                                               678-277-4911
                                               678-277-4911
                                               Elizabeth.Parrott@mccalla.com
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                                            CHAPTER 7

                                 CERTIFICATE OF SERVICE

      I, Elizabeth Parrott, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, Georgia 30076-2102, certify:

        That on the date below, I served a copy of the within NOTICE OF ASSIGNMENT OF
HEARING, together with the MOTION FOR RELIEF FROM THE AUTOMATIC STAY filed in
this bankruptcy matter on the following parties at the addresses shown, by regular United States
Mail, postage prepaid, unless another manner of service is expressly indicated:

James H. Southard
1375 Jamerson Road
Marietta, GA 30066

Ian M. Falcone                              (served via ECF notification)
The Falcone Law Firm, P.C.
363 Lawrence Street
Marietta, GA 30060

S. Gregory Hays, Trustee                    (served via ECF notification)
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:    06/30/2022       By:    /s/Elizabeth Parrott
                    (date)              Elizabeth Parrott Georgia BAR NO. 750965
                                        Attorney for Movant
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